20-12345-mg        Doc 2044        Filed 04/27/23 Entered 04/27/23 15:02:15                     Main Document
                                               Pg 1 of 10



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
In re:                                                         ) Chapter 11
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor. 1                   )
                                                               )

                                      CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                       )
                                              )
    COUNTY OF LOS ANGELES                     )


         I, Mary de Leon, am over the age of eighteen years, am employed by Pachulski Stang

Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100 Santa

Monica Blvd., Suite 1300, Los Angeles, CA 90067.

         On April 27, 2023, I caused a true and correct copy of the following documents to be

served via the Court’s ECF system.

         On April 27, 2023, I also caused a true and correct copy of the following documents to be

served via electronic mail upon the parties set forth on the service list annexed hereto as

Exhibit A:

         On April 27, 2023, I caused a true and correct copy of the following documents to be

served via First Class US Mail upon the parties set forth on the service lists annexed hereto as

Exhibit B and Exhibit C.




1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.


DOCS_LA:348820.1 18491/002
20-12345-mg        Doc 2044    Filed 04/27/23 Entered 04/27/23 15:02:15            Main Document
                                           Pg 2 of 10



   REPLY OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO
    THE OBJECTION OF CATHOLIC FAITH NETWORK TO THE REVISED DRAFT
    SALE ORDER

        I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.



Dated this 27th day of April, 2023.



                                                      /s/ Mary de Leon
                                                      Mary de Leon




                                                 2
DOCS_LA:348820.1 18491/002
20-12345-mg        Doc 2044   Filed 04/27/23 Entered 04/27/23 15:02:15   Main Document
                                          Pg 3 of 10



                                        EXHIBIT A

Service by E-Mail

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DOCS_LA:333683.7 18491/002
20-12345-mg        Doc 2044   Filed 04/27/23 Entered 04/27/23 15:02:15   Main Document
                                          Pg 4 of 10



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DOCS_LA:333683.7 18491/002
20-12345-mg        Doc 2044   Filed 04/27/23 Entered 04/27/23 15:02:15   Main Document
                                          Pg 5 of 10




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DOCS_LA:333683.7 18491/002
20-12345-mg        Doc 2044   Filed 04/27/23 Entered 04/27/23 15:02:15   Main Document
                                          Pg 6 of 10



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DOCS_LA:333683.7 18491/002
20-12345-mg        Doc 2044   Filed 04/27/23 Entered 04/27/23 15:02:15   Main Document
                                          Pg 7 of 10



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DOCS_LA:333683.7 18491/002
20-12345-mg        Doc 2044   Filed 04/27/23 Entered 04/27/23 15:02:15   Main Document
                                          Pg 8 of 10




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DOCS_LA:333683.7 18491/002
20-12345-mg        Doc 2044   Filed 04/27/23 Entered 04/27/23 15:02:15   Main Document
                                          Pg 9 of 10


EXHIBIT B

SERVICE BY US MAIL

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DOCS_LA:333683.7 18491/002
                                        EXHIBIT C
           20-12345-mg     Doc 2044    Filed 04/27/23 Entered 04/27/23 15:02:15           Main Document
                                                  Pg 10 of 10
Claim Name                             Address Information
AMERICAN MESSAGING                     ATTENTION: SITE LEASING 1720 LAKEPOINT DRIVE, SUITE 100 LEWISVILLE TX 75057
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                                       WA 98005
CLEARWIRE SPECTRUM HOLDINGS III LLC    ATTENTION: LEGAL DEPARTMENT 1475 120TH AVENUE NE BELLEVUE WA 98005
CLEARWIRE SPECTRUM HOLDINGS III LLC    12920 SE 38 STREET BELLEVUE WA 98006
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                                       WASHINGTON DC 20554
METROPCS                               ATTENTION: PROPERTY MANAGER 5 SKYLINE DRIVE, STE. 226 HAWTHORNE NY 10532
METROPCS                               ATTENTION: PROPERTY MANAGER 2250 LAKESIDE BOULEVARD RICHARDSON TX 35082
NEW YORK SMSA LIMITED PARTNERSHIP      D/B/A VERIZON WIRELESS ATTENTION: NETWORK REAL ESTATE 180 WASHINGTON VALLEY
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                                       07470
OMNIPOINT FACILITIES NETWORK 2, LLC    ATTENTION: PCS LEASING ADMINISTRATION 12920 SE 38TH STREET BELLEVUE WA 98006
OMNIPOINT FACILITIES NETWORK 2, LLC    ATTENTION: LEGAL DEPARTMENT 12920 SE 38TH STREET BELLEVUE WA 98006
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SPRINT PROPERTY SERVICES               SITE ID: NY1215-D MAILSTOP KSOPHT0101-Z2650 6391 SPRINT PARKWAY OVERLAND PARK
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